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HLED "BY g§g' D‘c.

 

IN THE UNITED STATES DISTRICT COURT JuL \2 PH 51 35
FOR THE WESTERN DISTRICT OF TENNESSEE 05
WESTERN DIVISION ,

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POSAPAC, LLC, a Tennessee limited liability company,

and BARRY FIALA, lNC., a Tennessee corporation,

PlaintiffS/Counter-Defendants,
v. Civil Action No. 05-2040 BV

WG&D, lnc., an Oregon corporation,
formerly known as
WESTERN GRAPHICS & DATA, INC.,

Defendant/Counter-Plaintiff.

 

_ _ SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates were
established as the dates for;
Cornmencement of Discovery': June 30, 2005

Deadline to Join Parties and

 

 

 

 

Amend Pleadings: August 15, 2005
Markman Briefs by each party

with exDert affidavits if applicable: November l, 2005
Renlies to l\/larkman Briefs: December l__ 2005
Markman Hearing ( l day): To be Set by Court

 

lThe Joint Scheduling Order proposed by the parties and entered by the Court on March 22,
2005 permitted discovery limited to document discovery to commence on March 10, 2005.
Discovery in all forms permitted under the Federal Rules of Civil Procedure Shall commence upon
entry of this Order.

Th§s document entered on the docket sheet In compliance

with eula 58 and/or 79(3) FncP on fZ- 13 / 05 @

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Rule 26 Disclosures:

 

(a) Disc]osure of Rule 26 Exnert
Testimonv bv party bearing
burden of proof on any issue:

(b) Disclosure of Resnonsive Rule 26

Expert Testimony:

Deadline to Comp]ete
All Discove;v_:

Deadline to File

Dispositive Motions
§Including Motions for
Summa;y Judgment):

Rule 26ga[§3 g PreTrial

Disclosures:

Pretrial Order w/Witness
MLLLSI

PreTrial Conference:

er

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April l, 2006

l\/Iay l, 2006

June 15, 2006

Juiy 14, 2006

T 0 be set by the Court

To be set by the Court
To be set by the Court

To be set by the Court (the parties
request a date in the fall of2006)

The parties do not consent to a trial before the United States Magistrate Judge.

The parties are directed to complete a mediation of their dispute by use of a private
mediator on or before September 30, 2005. Should the parties be unable to agree upon a
mediator by August l, 2005, they shall advise the Court Which Will either appoint a mediator for
this case or refer the parties to the Court's mediation panel

This trial is expected to last five (5) days and is SET FOR TRIAL at * a.m. on

_day, , 2006, A pretrial conference is set for _.m. on , d ,
)"
2006. A joint pretrial order shall be submitted no later than 5:00 p.m. on , ,

P"r@ emmet/z ?/MJYAM-

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2006.

This order has been entered after consultation With trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order Will not be modified or

extended

fm
IT IS SO ORDERED this / day of July, 2005.

K@tj a/i.¢¢, /(- digch

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

APPROVED FOR ENTRY:

'/?¢¢Hnrc.n /Y. C’¢mr!r¢ -é§, am w/,;,¢_,.»m,`,,,¢‘,n
Richard M. Carter U //
Attorney for Plaintiffs,
Posapac, LLC and Barry Fiala, Inc.

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JO J.Heninlné;mj ’/' y

At ey for Defe t,

WG&D, lnc.

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing pleading Was served on Richard M. Carter, Esq.
l\/]artin, Tate, Morrow & Marston, P.C., 6410 Poplar Avenue, Suite 1000, Memphis, TN 381 19-
4843, this ll‘h day ofJuly, 2005.

 

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OF TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02040 vvas distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

